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                  UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA


NICHOLE LEIB, KEVIN
BROKENSHIRE, and DIANE
WEIGLEY, individually and on behalf
of all others similarly situated,          Case No. 4:21-cv-00196-MWB
                   Plaintiffs,
            v.
GEISINGER HEALTH and
EVANGELICAL COMMUNITY
HOSPITAL,
                   Defendants.
JESSICA SAUER, individually and on
behalf of all others similarly situated,
                   Plaintiff,
                                           Case No. 4:21-cv-00263-MWB
v.
GEISINGER HEALTH and
EVANGELICAL COMMUNITY
HOSPITAL,
                   Defendants.



                         CASE MANAGEMENT ORDER
                                   March 11, 2021
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      WHEREAS, on February 3, 2021, plaintiffs Nichole Leib, Kevin

Brokenshire, and Diane Weigley filed a class action complaint against defendants

Geisinger Health and Evangelical Community Hospital (“Defendants”) in the

United States District Court for the Middle District of Pennsylvania, which was

designated as Case No. 4:21-cv-00196-MWB;

      WHEREAS, on February 12, 2021, plaintiff Jessica Sauer filed a class

action complaint against Defendants in the United States District Court for the

Middle District of Pennsylvania, which was designated as Case No. 4:21-cv-

00263-MWB;

      WHEREAS, plaintiffs Nichole Leib, Kevin Brokenshire, Diane Weigley,

and Jessica Sauer (collectively, “Plaintiffs”) have filed a motion to consolidate the

two cases pursuant to Fed. R. Civ. P. 42(a) (“Motion for Consolidation”) and

Defendants do not oppose such motion;

      WHEREAS, Plaintiffs have filed a motion pursuant to Fed. R. Civ. P. 23(g),

asking the Court to appoint Berger Montague PC and Cotchett, Pitre & McCarthy,

LLP as Interim Co-Lead Class Counsel for Plaintiffs and the proposed Class in the

proposed consolidated action.

      WHEREAS, the Court finds that the considerations concerning Interim Co-

Lead Class Counsel have been adequately presented, and the Court has carefully
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considered the above motion, its supporting brief, the supporting declarations of

Eric L. Cramer and Adam Zapala, and the exhibits to same,

      IT IS HEREBY ORDERED:

      1.     Plaintiffs’ unopposed motion for consolidation pursuant to Fed. R.

Civ. P. 42(a) is GRANTED, and Leib, et al. v. Geisinger Health, et al., Case

No. 4:21-cv-00196-MWB and Sauer v. Geisinger Health, et al., Case No. 4:21-cv-

00263-MWB are hereby consolidated (the “Consolidated Action”).

      2.     This Order shall govern practice and procedure in the Consolidated

Action and any related actions based on the same nucleus of operative facts

subsequently filed in, transferred to, or removed to this Court as set forth below.

      3.     All papers filed in the Consolidated Action shall be filed under Case

No. 4:21-cv-00196, the number assigned to the first-filed case, and must bear the

following case name: In re Geisinger Health and Evangelical Community

Hospital Healthcare Workers Antitrust Litigation.

      4.     The case file for the Consolidated Action shall be maintained under

Master File No. 4:21-cv-00196.

      5.     Any counsel who has been admitted pro hac vice in any of the above-

captioned actions is hereby admitted pro hac vice in the Consolidated Action and

any counsel not so admitted may file an appropriate application to be admitted pro

hac vice.



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      6.     The case captioned Sauer v. Geisinger Health, et al., Case No. 4:21-

cv-00263-MWB shall be administratively closed.

      7.     Any other later-filed actions bringing claims on behalf of parties that

overlap with the proposed plaintiff class in the Consolidated Action and that are

related to and arise from the same or substantially similar facts and circumstances

as the Consolidated Action (“Newly Filed Action”) shall be consolidated into the

Consolidated Action.

      8.     Any such action described in paragraph 7 shall be deemed

consolidated unless an objection is filed by a party in the Consolidated Action or

in the Newly Filed Action within fourteen (14) days of the filing or transfer to this

Court of such action and the objection is sustained. Once consolidated into the

Consolidated Action, the Newly Filed Action will be administratively closed.

      9.     The Court requests the assistance of counsel in calling to the attention

of the Clerk of this Court the filing or transfer of any case that might properly be

part of this Consolidated Action.

      10.    Plaintiffs’ motion to appoint Interim Co-Lead Class Counsel pursuant

to Fed. R. Civ. P. 23(g) is GRANTED, and the Court appoints Berger Montague

PC and Cotchett, Pitre & McCarthy, LLP as Interim Co-Lead Class Counsel for the

proposed class.




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      11.      Duties of the Interim Co-Lead Class Counsel. Interim Co-Lead

Class Counsel shall be responsible for the overall conduct of the litigation on

behalf of the proposed class, including the following:

            a) Supervise all pretrial, trial and post-trial proceedings;

            b) Sign any pleadings, motions, briefs, discovery requests or objections,

               subpoenas or notices;

            c) Determine and present motions, briefs, oral argument, and take such

               other actions as may be appropriate with regard to the position of all

               class plaintiffs as to all matters arising during pretrial, trial, post-trial,

               and any appellate proceedings;

            d) Conduct discovery on behalf of the Plaintiffs and the proposed class

               consistent with the requirements of Fed. R. Civ. P. 26(b)(1), 26(b)(2),

               and 26(g);

            e) Designate attorneys to act as spokespersons at pretrial conferences,

               hearings, and arguments;

            f) Negotiate and enter into stipulations and agreements with defense

               counsel with respect to all matters in this litigation, including

               discovery and settlement matters;




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   g) Coordinate the activities of all class counsel, and implement

      procedures to ensure that schedules are met and unnecessary

      expenditures of time and funds are avoided;

   h) Retain and consult with experts as deemed necessary and appropriate;

   i) Call meetings of class counsel when deemed appropriate;

   j) Allocate any attorneys’ fees or expenses that the Court may award in

      this matter amongst the various class counsel participating in the case

      based on the reasonable judgment of Interim Co-Lead Class Counsel

      as to the contributions of each respective firm to the success of the

      case;

   k) On a regular basis, collect reports of contemporaneously prepared

      attorney and paralegal time and expense records from each firm

      litigating on behalf of the class under the direction of Interim Co-Lead

      Class Counsel;

   l) Delegate tasks to counsel for the class and otherwise coordinate the

      work of all class counsel, and perform such other duties as the Interim

      Co-Lead Class Counsel deem necessary or appropriate, or as

      authorized by further order of the Court; and




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       m) Perform such other pretrial duties as may be incidental to the proper

          coordination of pretrial activities or authorized by further Order of the

          Court.


IT IS SO ORDERED.


                                              s/ Matthew W. Brann
                                              ___________________
                                              Matthew W. Brann
                                              United States District Judge




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